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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             Case No. 06-60168-CR-COHN/SNOW

  UNITED STATES OF AMERICA,

                Plaintiff,

  v.

  FRANK DESENA,

             Defendant.
  _______________________________/

       ORDER DENYING RENEWED MOTION FOR JUDGMENT OF ACQUITTAL

         THIS CAUSE is before the Court upon Defendant Frank Desna’s Renewed

  Motion for Judgment of Acquittal [DE 102]. The Court has considered the Motion and is

  otherwise duly advised in the premises.

         Defendant moves for an Order Granting a Judgment of Acquittal, arguing that

  the evidence presented by the Government in this case was insufficient to support

  convictions, particularly with respect to the lack of evidence about or testimony from co-

  Defendant Tomas Salom and the general insufficiency of evidence to support the

  conspiracy conviction on Count I of the Indictment. The Court has considered the

  Defendant’s argument, but finds it to be without merit, and concludes that the evidence

  presented in this case was sufficient to sustain the convictions. Accordingly, it is

  hereby

         ORDERED AND ADJUDGED that Defendant’s Renewed Motion for Judgment of

  Acquittal [DE 102] is DENIED.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,
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  Florida, on this 10th day of August, 2007.




  Copies provided to:

  Counsel of record




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